             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

GREENLITE HOLDINGS, LLC,
                                Plaintiff,
v.                                              Case No: 5:21-cv-646-HE
THIRD COAST INSURANCE
COMPANY, a foreign corporation,
                              Defendant.

                       JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, GreenLite Holdings, LLC,

and Defendant, Third Coast Insurance Company, hereby stipulate to a dismissal with

prejudice of all claims and causes of action asserted by Plaintiff in the above-styled

cause. Each party shall bear its own attorney fees and costs.

                                                 MANSELL & ENGEL, PC

                                                 s/ Steven S. Mansell
                                                 Steven S. Mansell, OBA #10584
                                                 Keith F. Givens, OBA #16501
                                                 204 North Robinson Avenue, 21st Floor
                                                 Oklahoma City, OK 73102-7201
                                                 T: (405) 232-4100 ** F: (405) 232-4140
                                                 smansell@meclaw.net
                                                 kgivens@meclaw.net

                                                 ATTORNEYS FOR PLAINTIFF
    s/ Derrick T. DeWitt*
    *signed by filing attorney by attorney
    Derrick T. DeWitt, OBA #18044
    Kevin H. Cunningham, OBA #22117
    DEWITT, PARUOLO & MEEK, PLLC
    P.O. Box 138800
    Oklahoma City, OK 73113
    T: (405) 705-3600
    F: (405) 705-2573
    dewitt@46legal.com
    kcunningham@46legal.com

          -and-

    s/ Brannon C. Dillard*
    *signed by filing attorney by attorney
    Brannon C. Dillard
    Federal Bar No. 22-79
    Dewey C. Dodson
    Federal Bar No 21-104
    SHACKELFORD, BOWEN, MCKINLEY &
    NORTON, LLP
    717 Texas Avenue, 27th Floor
    Houston, TX 77002
    T: (832) 415-1801
    F: (832) 565-9030
    bdillard@shackelford.law
    ddodson@shackelford.law

    ATTORNEYS FOR DEFENDANT
    THIRD COAST INSURANCE COMPANY




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